KLINEDINST PC

5 th'ton CENTRE DR:\/E, STE. 1006
SANTA ANA, CALIFORNM 92707

Case 2:12-cV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 1 of 35 Page |D #:18

(f'l“n’is;topl‘\cr [,). llolt. liar l\ln. 2283‘)‘?
l<l`,,ll\ll';il,)lNS‘l` l)(j

5 l~'lutton Centre Drivc. Suite 1000
Santa Ana. C`alil`ornia 92707

(*'714) 542~1800?§`/\)( (7l4) 542~3592

§§

Attornc}»’z; l`or l")el"cndant
N{`) R”l"l~l l ,,/\N [,`) (,"i R() ll l". lN fl` .

 

 

UNITEI) STATES DlSTRlCT C()URT
CENTRAL DlSTRICT ()F` CALlF()RNIA

 

§§ x §§
'1"”/\\/1/\1,.»\\»/3<“);\:, §§ * § §§ §§ § §§:§ Q§;§\§)S§
P)aimin’; NoRTHL/§ND (;RoUP, 1Nc.'SNo lC'E
on REMovAL oF A¢:TroN UNDER 28
v. u.S.C.§ 1441(3) (FEDERAL QUESTloN)

N(‘)R'l`l'l l,,,,/\Nl') (`}R(')l,,ll"~ lNC ,q §

Det"cndant. §

 

TO THE CLERK OP` 'I`Hl:` AB()VlE-EN'I`I"I`LED COURT:

PLEASE TAKE NOTICE that Defendant Northland Group, lnc.
(‘“`l\lox'thland”) hereby removes to this Honorable Cour't the State court action
described below.

l. On or about July 23, 2012, PlaintiffTa\/ia Lawson (“Plaintifl"")
commenced an action in the Superior Court of California, County o'l`LoS Angeles,
entitled Tavz`cz Lawso)/z v. Norzh/cmd Grc)up, lnc. and assigned Case No. 121303812.
Copies of the Summons, complaint and concurrently Served documents are attached
as Exhibit A.

///
///

/// _1_

 

 

 

N()RTHLAND GROUP, INC.’S NOTICE ()F REM()VAL ()F ACTION UNI)ER 28 U.S.C. § 144I(B)
(FEI)ERAL QUESTION)

 

Ki_m&cmsr PC
5 Hurroa CENTRE DRI\/E, Sre 1000
SANrA ANA, CALIFORNIA 92707

Case 2:12-cv-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 2 of 35 Page |D #:19

1 2. This action is a civil action of Which this Court has original

2 jurisdiction under 28 U.S.C. § 1331, and is one which may be removed to this

3 Court by Northland pursuant to 28 U.S.C. § 1441(1)) in that it presents a federal

4 question as Plaintit`f alleges violations of the federal Fair Debt Collection Practices
5 Act, 15 U.S.C. § 1692 et seq.

6 3. Plaintiff caused a copy of the summons and complaint to be served on
7 Northland via personal delivery on August 1, 2012. This removal is therefore

8 timely.

9 4. Northland is the only named defendant in the above~captioned matter.
10 5. On August 31, 2012 Northland filed its answer to the complaint A

1 1 copy ofNorthland’s answer is attached as Exhibit B. Northland is not aware of

12 any other filings in this matter

13 6. As required by 28 U.S.C. § 1446(d), Northland Will give notice of the
14 filing of this notice to Plaintiff and to the clerk of the Superior Court of California,
132 County of Los Angeles, Where the action is currently pending

16 WHEREFORE, Northland respectfully requests that the above~captioned

17 matter, currently pending in the Superior Court of California, County of Los

18 Angeles, be removed to this Honorable Court.

 

19
20 Respectfully Submz`rted,
21
22 i<LiNsr)iNs r;Pc§
23 /z § §
2 /;§ § i,/
24 DATED;AuguSrzi,zon By; § /c”“'
Criristép . non
25 At*tcrne fror Defendant
NoRTHLAND oRouP, iNc.
26 1584805\/1
27
23

-2_

N()R'I`HLAND GROUP, INC.'S NOTlCE GF REMOVAL OF ACTI()N UNDER 28 U.S.C. § 1441(3)
(FEDERAL QUESTK)N)

 

 

 

Case 2:12-cv-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 3 of 35 Page |D #:20

EXHIBIT “A”

Case 2:12-cv-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 4 of 35 Page |D #:21

 

3
.:W ssssss _ ..W:.c_c~ . 4 . 571 ] 1`2.
` ` " ' BFM

.

sums " s, mmww
rem cw~J; ICIAL) CONFZ$WIW°CQPY
Nonce m newman ., or amount m
(Awso Ar. nemnnwoi.~ _ 141 mm stima
NORTHLAND snow iNc.~ . JUL 2 3 wm
sar:§ssa%ssaa.m fow~@;;§,%§;mt
rAvtA LAwsoN . BY w q o¢i>v

 

 

 

|JO'¢!C&!Y<>” muhammad H¢wmmydedd¢mwtywwmymrbovgheemmyoumspommwdrp.R¢edwmlormalon
below

Yoummcmm¥$anummsmhgdmumunodonyoubie¢mmenrespamatmbmunmdhmamy
motiontwle.Amecdlwl\wMyou.Yo\rwmnnspon¢anmtb¢hpmp\rlcgatwmlfyuuwom|h¢¢omwh¢¢your
W§Wmmwmnmmvmwtywwmbrywrm¢pom.Ycom¢mdmo»gmnnbrmssndmommmdimltlhe€mcusb
Onlne BeIM-telp Cm(mmwtinfo_a.govmhoh), your comity bur ibmry, or vacuum moral you. ffyou cannot pay h ing bo. ask
|Mcmchrkfursfeawdv¢brm.!fyoudonotl\smrecpommm.ywmaylooommnvy“" ..amsyou , . ,.,Md ,
myde!ak¢nwttmmmwnmlanromwoo\x\.

Themamomorl¢u»lmqomlm.Youmoywcttocafianulormyrigmway.ifywdomnvmwanatwmay,youmaywsn!wulondiomoy
- mwduwve.ltywmmwommouowny.youmybeewmohrmmmmkmnnonpro#!¢aqo¢wvba¢moor¢m.¥cucanbwa
ml¢on;woiii gfmctmecalilomta LeguSeMdo@Web clto(mmwcd#mtarg),lhvca!ibmtl CmOrMeSelf»Hemeie¢
(maour§nlc.ca.pmemw).orbyeonwmgyo£abwmmammbarumcl:dm.|im:Thewurthuammtwfoo'mivedmwd
cosbonsnymulmmu'vmntionm¢dd$w, :wmk\¢c»im¢.mcom‘slimrmmb¢paldbevnttmcoudwmdcniuwmse.
mofl.ohendmsrwda. Smoreapwwdem'dosodlaa,umpwdedoawmwmmameswdmsuvenion.Loal¢hhmaciona

¢dén. _
T¥ena.?obb\$DECA££NDAR!Gde'spu¢¢d¢uncleMbrguanma`l¢ddaypqpe»abg¢b¢penpnsvuwm¢mmporommm
mymrqwnerwwmacopfaddamndmm.Un¢cadaoun¢hmadafedeboiunabpmugm.Suns¢wemporeacri!olemw¢war

enlarmatoiagalcmncmddss¢o¢uepmswmmo`qhmi&poabhquoh¢yambmwwbqvewhdpwdnvaanwmm
marcum/eduamemeym£shibrrgzecldoendcm¢mdeAyudadobs‘Go/tesdocamhvwmie.mgm),mh
bib§ofeo¢da»’e;esdowmmdooonhmqu¢|equod¢msscaca.Simpwdopagshawtadopmsonhdmpid¢»imaiodoheom
mmbdeuniormu!uvd¢szmcvnd¢pagod¢am;wnopmwuw¢uapunmadcn»)o.wedepmewawpormn»myhmh
pad/iquxususuold:.dhomyblenesshmasadw,rfenda. '
Hayatmsreqwslmslagm.€smcommdabbmuhmaam `, ’ ’ *" ' Slno sun ‘ _ “ pue<hfhnmamm¢v&:!oc¢s
monong¢dos. Slnopmd¢pogaram alwng as powhqmamwa con lo.smquibap¢rloblsnsnmidos legahs growsz
pmpmmd¢smicfoslagwnhitna¢dnm. mccmmroswmoasmmsdawmmalsivowgod¢€a&bmthdm
(ww.lawtinipcaliiomh.crg),mal€enwda£yvd¢ las Cmsd¢€ommw.wwu.¢.gov) o.ooaléndosacncmradvaonhcomou
mainmanogadoslocdo¢AWSQ'thy,hamiltondemammmrhswovaymoodowxanmcpwmm¢rungmmm
dwmedutia&wdmudewirucbmmodwhm»awrdocmammidnda mdm]eenmmodcdeudwairt fmqu¢
pagurwgrsvamende!lmanwd€qdalewmpvedadsmdnrelcisoi '

T?se name and address cl the court is: r , _ casswuu.=x
(Emomm y dimww do la came es): Superior ourt of Los Angelcs *"“"'“'” "’°'TB 803812
1427 Wcst Covina Pkwy " ' t
West Covina, CA 91790 -

The name, addmsa and teme number of plaintiffs attorney, cr ptaintiff with an attorney is;
(Emombm, la dimch y alm?mem de lam del coogadadeldamandanm, a del demands/rts qua no diane abogada, cs):

Todd M. Friedmari, 369 S. Doheny Dr..;~;#¢$l$, Bevcrly Hills, CA 9021 l, 877-2964741
me JuL 2'3 zutz ~'°**"A C\J~RKH;M _ ster <Ca»we;¢,amy

(Fedw) (swm,io) rA¢unto)
(Forpmofo! service omits summons, usa P"_zd.o! Servlce of St.mmopa (fon??(')$-Oio).) ` ,

(Pam pmm de enlwga ab asia citation usa al fohnulado Proof`df Sen/ice of Summons', (FOSO?U)).

NOT|CE TO THE PERSON SERVED: Vou' are served

mm 1. asmwwmaidewm., _

2. [:] as the,pemon sued under the fictitious name 61 'fspedly):

3 53 mb.,,,-auo,`($ped,yk ' Northland`Group, |nc
l 1 b

linden [Z] ccP 416.10 <oorpm`von) - - cce 4{e.eo,tmmon
[_::] ccP 415.20 mean momnm) ` y ; ccP 418.70’(¢0:\=¢~¢¢@)
{::] CCP 418.40 (amdozion or pammb) I::] CCP 418.90 {author¢zsd mem

C:l th f M)r
4- §é by pmo?\als<;e!`ivory on Y¢Ma):€`./§/( 1

 

 

 

 

 

 

 

 

 

 

 

~ ` 'll!_l.s!_‘.

memm us ' l . ' enade names

Mau\adcu:\'» SUWCNS . m:d¢v.a».w
mm nw .i»q \_ mm d ` . _ w

 

Case 2:12-cv-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 5 of 35 Page |D #:22

` lusrmcnon

 

To putnam and mrs qug F%m Pap¢n, if

mandated §k,tm%yow¢lmw,t¥»€le£€a

Tomyouhcormvwwshaot.exmsotm

 

GM»o‘lD
you lump fm pam(formnpla, omnwm)wa dvi=l wm youmans

3 ON HOW TD COMPLETE THE COVER SHEET

mwtwong mcaudimtypelniiuntaamcvwedba|m. Aeovm

shearman be &ledmy with your initial pause Favure to m s cover swat with ma tim paper tiled'in a civil case 'may subject a psriy,

ita connect of both to sanctions mds rules 2.30 am~3.220 ofthi mman Ruku of Court.
To P:vthc to Ru$¢ 3.7`46 chc!!cus Cuu. A “ml\ediom wea"

which mopmy, centum ar money wu amud'm m A
dam (2) punitive damages (3) memory at rent

ailtzd¢:hrmwax The ventilation of a cane a a ruiz 3.740
thwarme requiwm¢i» and case management mm. unions a
mw&\beswioeuomrequiremenuwsmmobtddngaj
To larsen la Comgt¢x cam. in complex cases onty, parties moot also use ma CM¥Case Camr $beet co destg
cassva rtaphirm¢ha!iev¢;uvau koomplexundezmlea.#f)¢)ofma
mnMnngpmprmebomsln materia
midwest altpa:tieato\heodion.itdc
laws designation a wm-do;igm¢wn

five men is mm
twme

Unw:umd Mow¢tt 143) WA‘I¢
mo involan an snwa
»» matter debt misled to
` . swim!km check M ¥ecq
q valued of Aufa}
other FWDMD (Personal ln§wyl
Pmpony O§mlgommnq!\d U¢M)
T¢m
habe¢mz (04}
weston Pro;)eny 12er
Asbezto.¢ Panmai ml

mm PM*D»'WD (23}
anim Liabiity (».g.. sip
and fan

lnvmtlond Bodly WD!WD
(otg.. mw& vandalism)

§nwnhlnnal mulde of
Emo‘lloml wm

mgiiqmt infliction of
Emu!iona| Dktm.u

0¢\¢¢ P\IPOMD

l|lm-FWDMD (0!%|!}10|!
Bu&iness TolvUMulf Budneu
Pmctloa (07) ‘

CM R!ght¢ (o.g., dca-infusion.
false m) mar eM~
msm)f) (08}

(e.q., macon !ihe|)

michaud Prcpmy{ts)
thu\onm Neu!li;¢mce(!!$)v _

Proimiu¢m
(na( medical arm
Om¢¢ Non»FVPDAM) Tod (35)

Wmngful T¢tm|hadcn (36)
OM Ernmovm¢nt 1153

¢

kudamm¢ya!eandmenotawwmm
matmcaseis¢mmp|ex. or, dpr

case riverside mattress

wm
is Bfo&t;h of wm (OC)

Bmada of Wuau
Con¢nu (mw mfst timber

or awctfm} ‘ ‘
®nNMWWBNM`
isde ¢no\* hud cr md
14qu Einnch of Coniracu

crim arm al emm€'wamq

', 'Col¥aclions (¢.g, mm dana open

hook wound (09) ~
Co!ndim Caso»`$oue: Plainm
mmch No

5 muram wrongs (no¢ provisionally

\

miami (181
Anto wooden
other Covenge ‘

' omrcmv`»a can '

nut F*

Comrwwd Fl'aud
mr Conhct D\zpute
many

.Emtnont

Condefmdim (14)

' mngh.i Eviotim (33)

Other neal Promty (s.

4

a.. zimmer iam
WYR diminution olReei progeny

’Oth¢r R»ai Pmpmy (no£ emma
domain blmnam‘. or
iGNClGM)

un_omu¢ umw
fCommnrdd($ ll
~ kendth (32)
'Dmgt (38) (Sl!h¢ cmi/ivdveaihgd

dmgs, check Mls dom: oMoMn,

mporquwnMaiorReddevM
hd\chili»m t
hamme
Patition Ra‘.hb&\ion mont (11)
.vwit‘¢s wanton
Wsi-'Mnmgw¢umdm
' Wl-Mmontmzadcom
` Cuokbhr . ., _
§ w¢ri~oo»¢rwii¢ucomcm
Rav¢¢w
‘OmerJucua|Roviow, 9 "
;: mem l am
macode
’ CMM&

under ruiz 3.?40 is defined aa m action for

wasn w recovery of mud owen

mmmomwsmmemthati“d§bemmptkomlmmm£
defendant titus a responsive pleading A rule 3.7’40 comma
udgment in ala 3.740.

Califomia

2. lt a ptaln&!!duigmtea a case as'<:omptgx
motiu&mappearancaalohdovhthe
has made no dubosaon, l designation that

vm<:¢:i\)\or'gyofm¢:m¢a\y‘
froznabrammnh
m&k\gmiodowing:(t)wn
or 151 a prows-vera m or

na£amme

Ru£es o¢Cw¢!. this must be hcioated by

.theoovershootmustbesemd

Wm\\?\e

vahiml»ly Cmbx Ci\rl ma (Cll.

va“ d Cou¢\ links 3.4
»Aniwulfmd¢ hamm (03)
Con*udion how (103

uaw nmu ma Ton (401

So¢_:wies Llissdon (23)
Envwnm\avn>xic To¢t (30]
tamm Cwong¢ Clains

arising from premium mmplnx

Mkcnll»uou Clvu Ccmphh¢ y
§§3 m audited
not
.,,°e':ir*;~
R¢H
7 _i§'?°"'“°"mm.,i., o.§’,"'(’m
bmwe/nj
M¢dwnic¢ Lbn

Cau mcmmebe

Olhm' CM Oomph'mt
(mbr!monompbx)
mizell-nm CM! huson
Putnarshb and Corporav
Go~amanoe ah
_O\!wr P\swou {mt medina
’ won t-¢$) `

Pellon|or Naml

Paili¢mb¢ kotteme tab
Gloim

OMCM Pambn

 

 

wwllnmi.m

C_IVlL CASE COVER SHEET

.

r*£d!

far

 

Case 2:12-cV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 6 of 35 Page |D #:23

   

\\

CONFORMED C()PY

1 'rodd M. Friedm»'n (216752) 4 _ . OF ORIGUAL men

2 Nichoias J. Bon trager (252114)_ , m_AnM sw°m°““
Suren N. We¢rasuriya (27852!)1 z ` '. -

3 Law Of‘£!r.es ofTodd M. Friedmi_an, P.C. ` JUL 2 3 2012
ssss.noh¢nyor.ws j " 7 4 ...,aw,;qma .”

4 Bcverly Hills, CA 90211 A

5 ranger 877-2064741 - “"----~'~'l!!-'B-_QQY%¢
Fax: 866~633~0228 `

6 tfriedman@sttorneysforconsumcrx.com

nbontragcr@attarneysfowonsumers.com

7 swecrasnriya@attomeysforconsumers.com

8 al A¢torneys for Plaintiff

 

summon comm orr THE sum or cALIFoRNIA

 

10 FOR ’I'HE COUNTY OF LOS ANGELES
l . LIMITED JURISDICT!ON
* .
12 v _ Cas¢ No. ~’ lamang .
m ) coMPLAlN'r FoR vxoLATon
TAVIA LAWSON, ' ) OF ROSENTHAL FAIR DEBT
" , ) coLLECnoN PRAm'lCEs ACT ANI)
15 Plainliff, ) FEDERAL EAIR DEBT COLLECTION
) PRACT[CES ACT .
16 vs. ` )
n . ) (Amount not to exceed 310,000)
NORTHLAND GROUP INC. )
m ) l, Violation of Roscnthal Fair Debt
) Coliection Pi;acti`ccs Act
19 Defendann ) 2, Violation of Fair cht Collcction
) Practioes Act
20 )
21 l »
22 " 1. lN'nibDUCrlc)N
23 l. This is an action for damages. brought by an individual consumer for Defcndant’s

24 violations of the Roscnthal Fair Debt Cofl¢ction Practic;:s Act, Ca} Civ Codc §1788, et seq.

23 ..
(hcrcina&cr “RFDCPA") and thc'Fair Debt Collection Practioes Act, 15 U.S.C. §169’2, et seq.
26 . . .

27 (hcrcinahcr “FDCPA”), both of which prohibit c§_¢bt_ §o!lectoz_'i;’from engaging in abusivé,

23 deceptivc, and unfair practiccs.

 

Compkim ' §

 

 

Case 2:12-cV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 7 of 35 Page |D #:24

\

   

¥"

' ' lI. PARTIES

2. Plaintlff`, Tavia Lawson (“Plalntifl”), is a natural person residing in Los Angelcs
county in the state of California, and is a “consumer” as defined by the FDCPA, 15 U.S.C.
§l692a(3) and is a “del:)tor” as defined by Cal Civ Code §1788 2(l1)
6 3. At all relevant times herein Defendant, Northland Group Inc. (“Defendant”)
"’ was a company engaged by use of the mails and telephonc, in the business of collecting a debt
from Plaintilf which oualifles as a “debt,” as defined bi/ l.'S U.S.C. §l692a(5), and a “consumer
dcht,“ as defined by Col Civ_Code §1788.2(9. Defendant regularly attempts to collect dcth
alleged to be due another, and.tl}erefore is a “dcbt collector” as defined by the FDCPA, 15
12 U.S.C. §l692a(6), and RFDCPA, Cal Civ Code §1788.2`(¢:). ._
" _ ` 111. FAC';“I)AL ALLEGALTIONS
4. At various and multiple times prior to the filing of the instant complaint,

including within the one year preceding the Eling of this oomplaint, Dcfcndant contacted

n Plaintiff m an attempt to collect an alleged outstanding debt.

 

ls 5. Plaintiff is informed and believes Defcndant contacted Plaintiffnumerously, and
.

w at times Defendant‘ knew where inconvenient to Plaintiff, with the intentto harass ber.

:) 6. '- Defendan`t also contacted Plalnu`tl"s mother, beginning m or around April 20l2

22 in attempting to collect an alleged outstanding debt from Plaintil`f. PlaintiPl' ts informed and

13 believes Dcfcndant contacted her mother at telephone number (626)9]5 6972, from telephone
24 number (866)275~6020 Plaimiff is lnfomted and believes Defendant contacted her mother

numerously, to obtain more than _]ust Plaintif}’s lo`chti'on information, and also disclosed the

26
existence of Plaintiff’s. alleged outstanding debt to Plaintiff`s mother,

~.

27

28

Cdmplaim ~ 2

 

 

 

 

Case 2:12-cV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 8 of 35 Page |D #:25

   

l 7. Dc‘f`ondant's contact violated the FDCPA and the RFDCPA in multiple ways,
neloding but not limited to:

a) Communicating with Plaintitl` at times or places which were known
* or should have been known to be inconvenient for Plaintll`f

5 (§1692¢(11)(1));

*¢.

b) Causing Plointif`l’a telephone to ring repeatedly or continuously with
1 intent to harass, annoy or abuse Plamuff (§16921!(5)),

c) Causing a telephone to ring repeatedly or continuously to a'nnoy
9 Ptaimin(cai civ code §1788 11(11));

d) Cor'nmunicating, by telephone or in person, with Plaintil`f with such
frequency as to bevunreasonable and to constitute nn harassment to
12 Pla`mtiff under the circumstances (Cal Civ Code §1788.l l(c))',

t

e) ln connection with an airempt to collect an alleged debt from
H Plaintiff, contacting a third party for purposes other than obtaining
location information (§1692b & §1692<:(b)); ~ .

l) ln connection with an attempt to collect an alleged debt from

l7 Plaintil"f, providing the identity of Defct)dant to a third party without
w such information being expressly requested (§1692b(l) &
§1692¢<1))); g , _
19 `- ~ ' - '
20 g) Disclosing to a thifd party the existence of the debt allegedly owed

by Plaintiff (§1692b(2) & §1692c(b));
21

22 h) Communicating with a single third party more than once in
connection with an attempt to collect an alleged debt from Plaintiff

23 (§1692b(3) & §1692¢0)))1 ~
24 1

i) Without having received the ptiox"consent of Plaintit"f or the express

23
permission ofa court of competent jurisdiction and without it being

26 necessary to effect a postjudgment remedy, communicating with a
h third party other than in the manner proscribed by 15 USC §1692b
(§1692c(b)); , c , ‘ v 1;.. _.

23 v "

Complalnt » 3

 

 

 

1

 

Case 2:12-cV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 9 of 35 Page |D #:26

   

‘ j) Communicating information regarding a consumer debt to a member
o{Plaintitl°’s family prior to obtaining a judgment against the debtor,
where the purpose of the cormnunication was not to locate the debtor
3 and neither Plaintllf nor Pla.intitl’s attorney consented to . the
cotmnunicatlon {Cal Civ Code §1788.12(b));

5 k) E`.ngagihg in conduct the natural consequence of which is to harass,
oppress, or abuse Plainliff (§1692d)). g

8. Asv a result of the above‘* violations of the FDCPA and RFDCPA, Plz`ti_ntil`f
9 suffered and continues to buffer tinjury to F;laintiff’s feelings, personal humiliation,
10 embarrassment, mental anguish and emotional distress, and Dcfendant is liable to Plointiff for
n Plaintiff"s actual damages, statutory damages, and costs and attotney’s fccs.

.._ 7

go;m_lj 11 vIQLALQN Qg Ros§m;gé;,
" mm DEBT 001 ,nggor~l PRAC!‘I§LS ACT

9. Plaintilf reinoorpoiates by reference all of the preceding paragraphs.

lO. 'l"o the extent that l`)cfendant’s aetions, counted above,_ violated the RFDCPA,
13 those actions wore done knowingly and willfully

'9 j PRAYER iron RELIEF v

WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant

21
for the following:
22

23 A.. Actual damages;
B. Statutory dntnages for willful and negligent violations '
24 C. Costs and reasonable attomey’s fccs; and
D. F or such other and further relief as may be just and proper.
25 ` " ,¢
26
21
23

Complaintj 4

 

 

 

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 10 of 35 Page |D #:27

6

   

' ¢II~ VIO TI AIR‘. T

z COIJ,E§§!:IGN PRACZFICES AQ§I

3 l 1. Plaimiff rcincorqu`atcs by rcfcrc;)§c ali of the ph:`ccding paragraphs.
4 j PRAYER von RELH~:F

5 WHEREF()RE, Pfaintiff mp¢ctfxdly pra;}§z tigar judgment be entered against Dei`endanz
6

for the foklowing:
7 t
s A. *Actual damagcs;
B. Statutory damages; §

9 C* Costs and reasonable anomcy’s fccs; and,
m D. For such other and timber relief as may be just and propcr.

12 1_

‘3 ' PL£AIN'rxg§ mem BLQUESTS A mAL BY JURY

‘ Rmp¢¢mmy submch ims July 13, 201

17 By: ._ ' » '.
'I`odd M1 Fricdman ' "
"‘ 1 ` Law Of’ficcs ofTodd M. Friedman, P.C.
19 Atwmcy for Pla§ndff _'
20 x
21
_ 22
21
24 1
§§ ‘
215
27
28

Comp{gim ‘ 5

 

 

 

 

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 11 of 35 Page |D #:28

   

 

 

 

 

 

 

f 4 \
AW§A&Q' WIWKE ATUYM B¥Mi#,mm n . UVOWW¢G..¥
mw omega gm M. wadman §§ CONFORMED COPY
n _ ‘ ‘ OF ORIGI§JAL §!LED
YW nw ~ ` 1-4741 ‘ ' m 1101 swan-em m ‘ wm °‘"°' °'
mmmmm Plaintrfl Tav)a Laws¢m
memcozmorcmmamlcoumw l,mAng¢i¢$ v JUL 7 3 2012

¢W¢fmw 1427 Wcsr Covina kay .
HMMM)CRI!S: ' ‘ im smu Oimc`cxk
cm»mwm: Wcst Covina, CA 91790 " what fm

 

-W.M _ 4 y ,.4 grji Covey_ mm

 

 

CASE mME: .
Tavia Law:son v. Nonh!and Group lm:. ‘ , ,, _ '
c1v11. case coven sHEET ¢o,,,,;u ¢.;, o,,w,,,u.,,, m*'“’“*“= 1 4 5 1133 1 2
l::l umimiwd a 1:7_] umwa ~ `
{Ammm (Amoum [:] Cosmm m ' ’ “‘
1 » NDGL‘
mandad demands is Fiiod with tim appearance by dsfondmt
exceeds $25.000) $25.000 cr has) (t‘;a£. Kubs cl Courg ruin 3.402) wm

 

 

 

 

liama habeava be mmbevd(soa kast page 2}.
1. moneboxbe$nwfmcaaotypadmbestdewrwswizcase:

 

 

 

Am tort , Cnntna ' mistomily ibm Ch'!i ngai¢m

mo 1221 Bmd» 111 mnnw&mmzy 106) tC¢l R“h d wm N¢¢~ 34°°-34¢¢}

mm munn 1451 ` mae mm medium 1091 {:] Amm¢wm¢. munson 1031
mm mama annum wmmwpmy own mm 1091 g c¢ns¢m¢m dam 11 op
D***\¢WW"°"¢'"* U***M T°'* tamm m 1131 - Man m 1403 '

“°°"°°<°" [:I mom-am Sewnwm»~m)

P¢oduci Wliy (?¢J Ru! pusqu ~ Ehw£mnu\emwfoxic fort (30)

Mmmus} [:] ammmmwu [:] mmc.mdammumwm
{:3 mm Pumwn 1231 ' . com 1141 am ama Ma\‘y mm m
kwwurwo wm ton [::] Wold umw 133) ‘Y°'* ("’

Ru¢mou tod/mmr wsm mach (07) m 0""°"“’" P‘W°"Y am E“‘°'°""°"‘ °Um"‘

cm 119111; wm ` unlawful umw m Enlom¢m¢m olivdmm (20)

De!omo&on (13) CM (31) g hammons CM! Comphmt

Frauo 1161 ch\emw 1323 {:] nico 1213 ,

munoch mm 1191 [:] D~o¢ 138> ._ |:] com muva mae specified mg 142)

Pm¢€wloml wfo¢m 125) ~W’='*' R*""" ‘ ms¢¢u¢nwm cnn mason

Other nm»PvPOAND bn (35) § m$mm” (°5) g Pmnermip and summit chmanca ¢21) .
z m pm~:~wszonmmuu

mw mm im E: m M:W“ am [:] 0111»1 mason m mm foam 1431
E] cum ammerman 1151 I" ow,h_mw mm my 1

 

 

2. Th£cm [:j is m isnol oomp|sxunderrule$.wocfiha CdifomiaRdasofCoun. !fti\aman h eompwx, mavkl'm
factors requiring escwaan judicial management

a. [::I Large number 01 separately supremth parties d. Large nimmer of witnesses

b. [:] Extensfv¢ motion practice mining dlfhwit oc novel o. Coordination wish mined actions gaming in one or more courts
issues that wm be time~conwming to massive _ |n other ooundes. mtss. moourtries, or in a federal com

c. m Scbstsniiaf‘amount of downiary*¢widence f. {::] Subs!anfal postjudgment judicial supervision

Remadies sought (chaek all that apply}: am mqneiacy b. [Z] nonmonewry; declaratory or injunctive raw c. (:] punitive
Nm\beroicousuolaction (specl¢y): 2 ' ' ' . ` '
Tbis case l::] is Is not a dan faction wit
Ifthem am mwa related cam, mcmann a notice ofnlatedcase. (Voumayuso form CM-oi$.)
Dam: July 18,2012 ~ ~ ~ ` ~

rode M. Fri¢dman ` b

(NFEORPRNY NAM£) ~ » an Y

§ ~

.QS".*$"

~NWE _
» Ptaiuzil¥must me this coversheetwlm the impapar f!&edmtheaction orp¢ooeading (exuptsmalda&muses mcade
under vqa Proba£e C‘¢ode, Fami!y Code, of We|hp and lmmuiions Code). (Cal. Rules o`¢_Couzt, mla 3.220.) Failure to tile may rault

insmchons. .
'F§|ehwoovarsheptheddmon!oanyeovarahaatraquimdby|ocllocunmic. . _ 4
~limiscaselsconx:|éxwdorm£es.dtooetaeq.ofmecslifordaRuhaofCoun.youmtsemacopyowmcoversheeicnan ~ ',
wmpmiezlomo¢dbnorproooedinq. » ' 1 '
vUn\esslh&aisaoo|ladiommnundarrwe&?woraeomphxcnse.mdmahcutwwbeuudbrdadcmrpurpms .N

MMM¢:'IMM 010 c'wL CASE covER SH EE‘¢ CR.HIEI‘¢M Mo;!.$v. 321 maxim

C||»mumu.uy!.zoe?| ~_' M- »
.- . . " turbo-mm '

'€¢'

 

 

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 12 of 35 Page |D #:29

   

 

mv "m` ` 1
ram umw v. N¢nhland map lnc. m mma

 

 

 

CN!L CASE COVER SHEET ADDENDUM ANO
$TATEMENT OF LOCAT!ON
(CERT|F¥CATE OF" GROUNDS FOR ABS|GNMENT TO COURTHOUSE LOCAT!ON)

ms form la required pursuant to Locd Ru|o in ln all new civil cm filings in the Los Angeles Superior¢mrt.

 

 

 

 

nam l Check the types of hearing and fill in the estimated length of ewing expected for this cesar
mm mm m yes cuss annum m vEs mullen casa? was nme Esnwmzo me£LBMM

nom il indicate the conecl district md courlhouse' location (4 steps if you checked ‘lelied Gaae' strip to item ill Pg 4):

St¢p 1. ‘ Aller first completing the Civ§ Case Cover Sheet form find ihe' main Clvi Casa Co»ver Sheei heading lot your
case in the ienmalgln below and,' toihedgmln CowmnA ma ClvllCase Cover Sheei melvpeyou salem

Shep 2: Chedl gm Superlor Court type of action in Cowmn B below which best descrlbes the malum of this case

$wp 3. in Ooiuqm C, circle the reason br ihe court locaiion choice that app§¢s to the type of action you have
dressed Forany oxee'p&onto dwecourtio;cation aeeLocai Rule2..0

Appiicablo Roasons for Chooslng Gom'wousa i.oca\lon (see Coiumn C below) j

 

1.(;l¢n»cilomm¢dewma8tmoyhlod¢:énm B,l.ocalionolpm ambulancde
2. in bailedlncmmiuih¢r conn , bed in op'nmd:mqe 7...oca§onwiwre;micmrmid¢¢

Z" vwwhnm Mé§wyd dry wm nom m¢::;` ) ' g`.ocalon\m farl:‘u`\s\mr md wrong
.,.oca a m comma . am
5.,.0m6mwlmnpehmmeedmmd10..~na§mdm€omnm0%m

 

_ 1

step 4: Fm m me mlo¢mallon reopened on page 4 ln mm lll; complete lwén lv. sign me declaration

 

   

 

 

 

 

 

 

 

 

y 3 `"' -A ?»"‘ ~ v _ »` .:"» ; "';'L:§.l‘ C"!:M_ '
CMG¢quuShael` ._. `- ' '. » . '” Aaple¢va_¢bm»
.\‘. . ‘° f;wy~° ' *’ ~ \' '. -:.»i . i. ' 52.,3$°°3."-’°"“
o t mmr n amon Molmvm»mmulmwmmmmmmmmo»m 1__2.,4_
0
§"` umnweduomu¢m} n alma Per`»m¢lv*»ypw¢yomqm.gmoem~unmmum l..z.,¢.
. 3 : n :::""== =: :== ~: :=== m====@ : "= s
* , Cl mm NNMPMDIM a ‘- `. 2.
Asbm(oa) 9` .
it L'l A?szl A¢v¢sxoc-Pm¢l m)urylwronglulboh 2.-
° . ` .
2 § munoz umw cm m wm Pmdwwvwmammmumm¢m 1.".'.,3q 4~ s.
Q. ’ . ¢
§ q cl Anlo uncommon-thssqu ' l.,¢.
hamm Mad' 45
§ § m( ) n lam omamenvnallleamcmmw l..¢,
g v d q ! ,
§ § n Arzsn Pramse¢'uamme¢.;s_llp¢n¢w b
q, m _ ,,\ n, , , '
p,m,nnm, l:i A?!Sd scm ._,.. v , l“ w Dea!l{¢g. ."_
§ § pm mo small vmm¢lc.) 1
W”°"*;g,°“°* o Amo mammasmmuvm - ~ ~ ~
cl hmo mqumwnmmmmmnum “' '

 

 

 

 

w
~" l.AcN loa(aev. oam; CiV|L GASE COVER $HEET:ADDENDUM Local Rule 2.0
usc Apprm¢a com ` AND STATE_MENT CF l'.OCATlON _ P§ge 1 on

CaS€ 2212-CV-O7517-PSG-.]E|\/|

 

 

.,`.

-l

 

 

 

 

 

   

 

 

 

 

 

 

 

 

n name umcmms¢m/~ppm _ 10. v
` f] ABGD¢ machdkmmem¢onuac¢(oo¢mdawfuldowm¢o¢wmnqu 2 5

 

 

 

 

  

  

  
  

  
 

 

 

 

 

 

 

 

 

 

 

 

Document 1 Filed 08/31/12 Page 13 of 35 Page |D #:30

mm vasz Lms?n v. command ramp m¢. °"“°"”"""'
. ,” K ¢~.;’z~:' ` ‘~f:;"B ; .` ‘::fi"~/c.~v ,
emmvm¢m) n moz§ mh;;mwmrmemwmmwmm 1,3.

§§ mgym¢o_a; m naaqs cwamwzmxw ~ 1..2..&
§§ newman n wong omn§mcmm 1,2.,3 w
§§ FNMUB} U ABUK! F?¢Ud(mi"ww} " \,2.‘3.
§§ ~<»~»»~~»M» § z;; ;;'::,.;;$'**;“;;.;.,WM.,M.¢,.., ::;:;;:

m emma m wm mmpmmahmzmmmgmn ' 2@

§ mm¥¢mw¢as) cl mm wongummwn 1~21.1

§ wm mm(m 0 mm omerewvymmcompmmcm \4.2..3.

 

eviction) .
B{ ad\ cl Cdnlradl
° am :W““‘“” 0 wang commme drum -s¢s¢¢ vamm sammy 2~ "
f"°* "‘m"°_°¥ m mud mann umw dco?mwwmw¢y (no hamm ‘~ 2~ 5'
o ms omar am umwa mm mo ar Mgzm; "- 2~ 5“
§ m ms `
whom W Pumur 2.. s.. c.
§ comm (ns) . ,
o n mm cum pmi-my wiseman cue 2.. s.
mom cm'a‘ga my cl mays mcmanus mem mm company 1.. 2., s.‘ s. `
-~ m Ae'ooe conqu mm ` 1., 2, z.q s. "'
own cured 1311 n mm rm wm‘ 1.,2..3.,5. '~
0 M¢)Q? 0¢»¢ Cm¢d Ume(mtmo§pmsmmudhwgkm)
Em‘nanl Domamnvorz¢ '
cran v q n Anoo Emamm omuv§&nmnaum unawaran
3\ , ., v
§ wmgu wm (33) cl wm mw anew cm 2.. o. ::
§ cl wm mm Fo¢mun‘ 2.. 0 f "
x other Re¢ mpany(zc) n won auburn 2.,6.
awooqoumaw:‘, ,¢mt h ~ ';'" '_“ 2..6.
__ °"""'*”‘ °°"(;‘,')"C°"‘“‘°'°“‘ 0 mm mem mm~cmmrw: ms am or mm wausau 2., s.
¢» . ' » w .
C .
§ u“""""‘ °°‘f;‘:"“"""'“‘*‘ n mag unlawful omwa¢smm»s .{m¢ mm brqu munoz 2.. a.
unmuommr- ` `
§ ,,M_FMM am n mansm¢wu mou.¢~w.a=mmm 2..0.
2
' mwfnl bashor-mqu {38) 0 MMR Unlaw¢ul Dehinar-Dnm 2..6.
- ...___.__..._._J
LAcN 109 cRev. 03111) ClVlL CASE COVER SHEET ADDENDUM tjoch Rule los
msc)\ppmvea 03~04 AND STATEMEN.T OF LOCATION Page 2 on

¢`1‘¢

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 14 of 35 Page |D #:31

 

 

 

 

 

 

: § ' .
a ‘ ‘%,‘
m ms“meu
Tav§a Lsmn v. North¢and Group inch
A , , , A_r .::;. ): z ' al `.._ ;'B"..""¥* n _:,.::;` ‘4~\‘_,; l .»‘..?:,;.»,‘ Q.: ` _,c :
? CM&WCMSH¢¢£ " _~' -.j"'.j~ “‘ T)>¢a.bl&_£n'<;'k ' :f~""-' ‘ ."i_’r,»" App{§biiko`iadm~
Ciihc¢f¥wg; 1 y ‘, ~ 43 ;`~ ‘ l(cr;&i:p'n&oné’,;. _;.j.~ § -,~:‘. _"?{. mmswow
Mmmwwe<osz n naan mewecm z» a.
§ Pau:!wmamvu¢nm> 0 hans Pacazmncm»dmnann~ewa~wason 2~.5.
§ n mm m¢MMmm * z.a.
§ mammurozz 0 umw wm u¢ndnnn»G¢-Lirrsmdccwccaeauaner 2.
§ U M153 M! OMLWCO\GRCB$G~RM 2.
omazmwmvuw(:ss) 0 man mmlwnwsm zna.
§ manna/rm amwum(os) m nom Anm‘msmada scequ 1..2..¢.
§ cnnsmmoewno) n wm conan osha 1.,2.,3
§ Claim¢|nvdvinguan Tmi ' . .
§ am n Am¢mam)mwnngmaawn‘_ 1..2,5
§ sm§aewbawnm> o moss Wzmumwncssa 1..2..5
1
'= `rnm“ron ' ' »
§ ENMM) m waive mac rmmn»mnw s 2..3..e
` b
";om" "m‘°mcz:¥;" D Amu lnsumncacmuags:$wogatbn tamm casim|y} 1.2.. 5.,8
n Anm smarst ana
§ “ 0 huge Avmuo¢nmna{;¢ 2..¢.
§ § gum 0 Mw? Conm§:nd¢ndmm`(non.dmmak mhtiana) 2- l
g a omuagnm¢£zl)| 0 1614/0 Admfn`ssvamaqew/Awd my\puia\axea) 2..8.
15 3 0 wm Pammsmmv¢€mryouu¢wmwnwpam 1a 2..3.
2.,3~ o.

 

 

 

 

 

 

 

 

 

 

 

ca wm om¢znvmnmmudqmen¢cm ' ‘~ . .

    

0 won kanw§w (RK¥O> §§ng

   

  

 

 

 

 

 

 

 

 

`i

s §
§ " n nom newmmknuon)y. 1..2w e.
§ § omar C‘;“w;m, D MG¢O_‘ injunctive R_n%iefon|y (not domesilcmaraasmant) 2.. 8.
§ § *N°‘ SW "”°"°) (‘2? 0 nash cum mmacomprsm cna mzm.cw»uxz 1w z. m
o _ D Aaooto omarcmcm\p\m(mwmm<:qmgm> 1..2"3.
‘ FM';W 13 Mi 13 Fama'diip ind wants 60me Cua" ' 2.. l`
m and cm wm ~.. 2..1.9.
§ 2 v U AI§Z$ V\brkpboonmni 2..3..8.
__, § ama NIM D M!2`4 E|d¢m)ependomhdw£}\buu Ca“ 2.. 3.. 9.
§ § mm apache money m wm exaction comm z.
§ (43) n Aano Pemson br c_hange 01 game 2..1.
' ` m ama mason br adam man cum ua.. ¢ , 2..1.4.,¢.
0 M!°¢ O!her CM P¢Eion Z.. 9.
LA<:N 109 mm mann CN|L CASE CQVER SBEET ADDENDUM Loca¢ Rula 20
msc Amvac 03-04 AND STATEMENT CF LOCATlON Psga 3 014

*r

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 15 of 35 Page |D #:32

 

warm

 

 

 

mm ' :~
Tav£a me v. Nor'm{and erp §nc.

 

mm l|t. StatememofLomtim: Enwrtho eddins of the acddmt, party's waldman orp|éce ofhusmass. perfonnarm, mother
drwmstarm indicated in item |!., Step 3 ore Page 1, as the proper reason for f¥§ng in the mud location you mount

 

* mm
mama much throwve bona twin mm shown pg gm 331
underwunmcfonh¢tywohcdon umwa haynswode
mhmi. ` \

[]1. C]Z. -3. [_“)4. []5- DS. {]7. CJ&. UQ. CHO. `

 

 

mm sr.\\'&»v ‘ process
G!omara C.A 91140

 

 

 

 

 

mm N. baderer ofAss.igmnsnt idadsre under penalty ofperjury under the laws of the Stale of Cafifomia that the foregoing is m
sindermannzmmmummmwpmwnymwmsgnmmwmW¢S*C°vw couva
w ' barrier of me superior court or csm. carney of Lo¢ manleon Civ. Pm. § 392 et m, and mr
man 2.0, ma \b). round rd)}. . . - ‘ h {

sam Jwv 18. 2012 ' “" /\‘/
,......_..“._______.__,,__. _

’ (S£GNA'¥URE OF AT¥OR)EVM FIRTY)

 

PLEASE HAVE THE FOLLOW¥NG m$ CDMPLE_TED .MID READY TD BE FILED IN ORDER TO PRDPERLY
GOWENCE YGUR NEW COURT CASE‘:

1. Originai Comp|aint or Petl'don

2. n ming a Complaint, a completed Swnmons form for xss`uance by the mem

3, Civ\\ Case C<wer Sheei Judlcia| Comci¥ form CNHMO '
4

gm gases Cover Sheef Addendum and Sta!ament of Locam`)'n form LACN 109 LASC Approved 03~04 (Rev

Payment in fun of the wing fee unless fees have been waived

6. A signed o appointing the Guardi_an ad L|iem Judfcial Councii form C¥V-010 11 the plaintif¥ or petitioner rs a
minor under years of age will be required by Coud in order to issue a summons.

7. Additiona| copies of documents to b_¢ conformed by the Clerk. Copics of the cover shoot and this addendun
must be served along with the summons and comp!aim. or other initiating pleading in the case

.°"

¢.
.,

 

umw 109 ¢Rw. wm CN|L C:ASE COVER SHEET ADD§NDUM . Lo¢sr arm 2.0‘
u\.sc mmde 03»04 AND STATEMENT OF LOCAT|OD§ . v Faga 4 of 4

 

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 16 of 35 Page |D #:33

   

¢ . , ; , v ,
1 ' ‘ x ,, ~
SUPE¥”! `CGURT OFC'AllFGHN¥A, OOUN'!`Y OY ANGEU!$
NO'HCE GF CASE ASS¥GNMENT ~ LIMI'!`ED CWIL CASE >

anew 12303312
Vo\xm¢izoosigncdv£omipmpoaosm&£]udicvwmmwimed dow

,.

 

 

,,,nr

sam w me Pmnam-cmpmmmmm dam en 1111 3 3 1012 loan A. curiam mw nw

' ' ay qu` 1604 vw cqu

Instructiona¥or Hnndling L|mitod Civil Cascs

The following critical proqu us app!icnh!c in ther `ESS{ ' M_Distr{o! m died Fnr your e'nfozmatim
PEUORITY OVER OTHER RULES: nw priority ofchaplor chou of\hc LASC hood gm over other Inoonois\om bond Ru|ox h se forth in Rute
7.2(¢}2|1&¢0€

MMMM Tod\co:nontsetforthdwma,(?mnmm®odeseoum 68616(‘)¢»¢!10&§ Rnfc'l$oootxo|du:dmmgof
Codeowai|Procodwo section l?¢)éoha!lmgcs.

MM; '!`\¢¢imestandudxhaybemendodhyfkmd oo|yupooasi"hgo{¢oodum {Ca&Rduol‘Co\_xi,uk$.l!D). `
Fdlan¢ome¢tdm¢mndardxmnyrmlh|h¢hnpqsitwofn»cdom. (Lou|lln|e‘l..lJ) '

Exocpl forml!cdinasmmpuuumto&lifaqiaku£cxofcowt,miel?w cwmig\odto¢hqlndividod€\icndar€mrtwil!bes:bjoot¢o
processing underchz folhwingtimcstmdudr: `

GOMPl.Mm: Ail mphiou shn!|‘be served md line proofnfsa'vio: mod within 60 Joys sher `ti)in§ ofthcoomphin¢.

moss.comrmmrs= widmucmnrwun rmwmgéuuwd.moww?¥mumiyvefmd vy'mypmy¢wm¢rwmanv¢'€m's~ ,
mdm¢gakmpmiesnewwxhomionmtb¢savedmidmeproofofmv¥ou dwihin$¢!dayutiw¢bofilw¢ofwoc:w-mmpin. Am

omnphimag¢imnpstywwhnalrcadyappwedbdmnuioambcwemnpmiodbyp¢oofofsorviooofdceuo»mp!¢lmdd'cwitv§kd.
(CodeCiv Pmc., §§2|50). …

CASE MANAGEMMREVIRW: A Cm Mm¢mm¢ R.evitwvriube$chcg!i!!¢d byihccmm h miam\hin !Mdml&¢¢homia¢of!he
complaint (Loc¢.l Rn!e 7 9(a)(’2}).

Pumimc to Ca!i&>mil Rnlo¢ o[Cour§ mfa 3.720-3.730 no later rim ii olan days kohn thel date set for Cae Mmgoqu R¢viwlcmfu'woc,
udpmy(mdiv\dox!!yorjoin\iy)mm&onnd¢hvoaCmMWSt‘ ‘usingthe ,' " § "` ”~fonuNo.'CM-Um .

MWRN¢:&:|G) lfar¢sponsi_v¢piud§xgisnotoerwdwidl'mdwtimcmmpoodmdnocmwuofdmehubompmmd,rhepl¢io\ifr
murdolkequmfor€n¥yofbcfwkwidun lod¢ysnhzrdwtimeforsu-viceha¢lapmd. Faihzew\imdy&kzhehqr.\es¢for£myofbdoh!tmy
nmhiumoldotmswwcimbcfngisswdamwywmimmddnotbcknpmd mphintm'mus¢roqrmidefxulljudp\mtmd\¢dcfmklng

defendm within 40 days mar may afdcth

__MMQ;[_I_Q§§, Ahrcgu!ulyaot@dmotiomwi¥!b£'o¢£ondnodmughdzmigwddepmmut Mmotiondmma.¢boaepamdy
command filodwichappmprixtefocs forad\\no¢ion. Modomt'o¢&mmsry!udg¢mmwboidmdf\ed¢mthneofrm Al!mo\£om

v

 

 

Shou‘db¢fi!ed\!\ §M§Qf§g_g` , .4
BMAuupmupmwiomdmddbenodcedfor$coomoom Exp¢¢zappeanncazp;die¢ioosfordirootsdmvoommusl
bcmodby 1'00&3"\ hRoom_ mem mmdzyohhoheomg. Exparteappeannoeaumu'ssotin
DQ¢_QY_Z____,___~____@.._¢ mmmwmxmmmmpwm“mum)mwmwrunm902 nassau
gm C!erk wm NA newman umw m on\hcdxyofchohurhg_

Do|aykoduotioo Ru|é¢dououpplycouninxumduuori¢dcm Tbephintif¥mun fik\l~lol£o:o{
Desipa\mwrlhlbe€om,idemifylng¢w munnlnnuednxxori¢daimundorhw£aacodsud&oo HSJG.Z.

uccv_,__ 001 ¢R¢.~v own NOT|CE OF
uscapprmd nom ' CASE ASS!GNMEm”- L!MiTED CN\L CASE "

 

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 17 of 35 Page |D #:34

' , , , -
1 ¢ “* . .¢ '- "‘
'\ . " `
.‘ .
kv

 

 

~ " ` anngm QQp
f SUPER!OR COUR?I; CF CAL|FORN|A » z &QVMW.ED 1 Y
coumv ol= ms ANGELES ”"“°*““W°'C“m
mmm¢mrwe§vemzewv ' , . ` JUL 732012

mmpa mwson. mva .. " .
, _ kim /5, Ckrke ancmive Ofnw

 

oe¢smmr; N§§THLAND GROUF' !NC.

   

 

cm wm
z NOT!CE OF CASE MANAGEMENT HEV\EW~UMITED C|VIL“ CtT 12803812

 

 

l F F.'l A 0 OF R
\’ou are ordered to serve this `Not&co of Csso Mmagemem Rcviow Mggg_gg§j on aff pmies/ntomeys of record fortm)ith.
\, ’

T_Q ,N.Lc QAHTI§§ AND !§ElB ATTOF!NEY§ OF RECCRD: ` ~ ` ~» l

 

You are ordered to appear at the Caso Manaoefnant F(ev§ow (Lim|¢od Civm hest as foliows: '
' Date: . EEPT.; ' Room #:
12/27/2012 002 ` ' CN¢L DN!S!ON

 

 

 

 

l l MhSTER CAEENOAR COUHT

 

You do not haw to appear, it fifteen days to the hearing ¥) mimms have idea proofs of comm of all defendants or obtained
defau!t' gmem(s} as w an mn~fe¢ponding endsma and fund a Case Mamgomem Statamem (Jud£ciaf Council mm CM~1 10)';
_a_Qg 2) efendants have fliod'_responsivd pleadings anda Cm Mamgemem Smtamont (Judicial Councii form CM-1 10). You also do
not have to appear, if amicus cf sediment and}or requests for‘ dism\saa| n to di po_:;ties have been filed.

~ ~ ~. Fai!umw mmv.wwv.m$i'xder.honmnmmdt in ma meanings headng.on an Ord¢r.to_$w:».!.‘.ausa.w.m nn¢tiom. .m
lmk)&ng, but not limited to. dismissal withom`pro§udica. and/or striking antwar, shoin not ha imposed pursuant to LASC
Locd Ruio 7.13, Code of Civi| Pro<:edura wcii¢ns 1?7.6. 575.2. 583.160, 583.360 and 583.410. Gov¢rnmem Codc section
88608. subdivision (b). and Cali¢omia notes of Court. rule 2.2 et saq. . . .

§

._.

CERTxFchTE 015 S;vace

t, the below named Exacun'va folcar/Clerl; of the abave~enrit!od court, do hereby certify that l am not a party to the cane hereln,
and that on this data l sawed the Notica of Casa Managmmm Ravie.w upon each party of counses namad below:
0

lX! by depositing In the linked Statss mail at the enormous in WEST COV|NA, Calfomlo, _
ona copy of the original filed herein In a separate spaied enve¥opa to such addtess as shown.beiow wld'\ the
postage thereon fu y prepaid. §.` § ` .

a
v

. PLA|NT£FF!DEMAND"ANTE " DEFEND`ANTIUEMANDADO

room M. FR\EDMAN

LAW oFFlcES oF Tom) M. FR\EDMAN
369 s. DGHENY DmvE #415 ' ‘
BEVERLY HxLLS. cA 90211 ' . "

' 0

JoHN 31\. cLARKE. Execuuve onwancrark '

omed= 07;24/2012 ` > ' ` ay APR;L M. covev, oepmy com

mms/133 mem mms) ’ NOTICE OF _ _z~ , c¢\. mm m'é'odr_;,‘.nuu 3.310.3.1203.130
msc moved 1003 CASE MANAGE_M_ENT REVIEW - L|M%TED CIV!L ~ kL»¢gsc‘u>¢m nuu. c_mm¢¢ sam

3 .
,. . _ ` . . _\ .
. . .

 

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 18 of 35 Page |D #:35

0 0

 

Los mem swenson coum ma PRQGR}\\B

~ QWMUOQMM(G°WWC¢“UUWP¢MW’)M¢W?$-|mt$. _C¢l|whhhd€nm.n~$mmd
MMEMWWIM$~UIWLMMWMMMQ 2.) . - v

~ WJudqosmn¢onhrm v

~ Wwwwmwmmwm~hM!?-) '.

v Mch|Arbd'don(aow-mdhycoadcumndnim. 10-11¢1:.\1 wmamhdoom.n~a.sio»lm. undue
NWS\WCM\N¢.M!ZJ

- Emk»ntbomlllwon(eomndlyoddodchlmpdmn$.w)

~ CMl|-|¢msm¢nt_loaadon
mclaimlodtdon , _

mellmf

~ FM¢WM¢MM(OPA)S¢N¢MCM¢ . ‘

¢ mccowan 1 .

. mvxmmg~m¢n(aowmbyrdqcmmzsa.) " " ;-

¢ much . .

- S¢Cibm¢nmonm ' ,

Pariunwyu|ed¢mocblor. neuhdovdmtor. oraqbitmoriun\hcumyBc|e¢thdwmayMomnompfivddy, dick
sham lcuummnu»mmsdmuodlaoonumamnnd upiv¢wmvemig¢wonammbain
mdmnemrdwwmech¢heanale¢hmhmdmhe_oommb¢hc 4 ‘ _

!

. 4

Mmct WMWPMMNMMNMWMWMMW¢MM
m dc)oada\oohcoun-com»c`hdcim mpadoc(cdbdvommoyhod\_¢god$tsawp¢rhourbrpwm¢
hunde Then*r pupar\iglnayb¢cmqod.hradd!mllhoubgtimmmhomiyw\hdmbs
Mbyth¢n`ew'd|lfd\oomhlmhmi&\g.
Rando\\$¢|¢ct TNRMMMMNWMMM&WMIWMWMWW
hud hqudaiydh?lw$dodwumlthmdnwwdnmmmwo
pmbmonawyo(liquol&\g`~t|n}uclddmim\. lhwcpolqd$¢€ourtv\ddR¢\dc-nsc|edpl\d
mmam.nmdmmmubdmwmwmmlhudngimpum. Th¢§dor.¢h¢
whwdhmqmmmmwmdmwbymnml~m

»~

deahn¢utnl Thenituntoforpdvdom\dphcanm\gokoln$$°°~$1..000qu
MAM.E

Fonnbuoe¢ nglrdngmphncomawmchzkagmccw¢inwnhwmmcmwm

m

 

ij PmlalyFmdodb`ym¢LooAngolalCom!vapuhRasohnlonFrogmn ~
Apompma &mcmmqownwwonpmhumvvmmupqummmcwaom

1 .
. __ ` \ »_,

mm\n~».xzost `~' ' L. _ ’n¢»zdz
.LASCW 05~09 _ ‘ ._~ ~ , . ‘

 

 

 

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 19 of 35 Page |D #:36

   

 

SUPER!OR COURT OF CAUFORNW, COUNT\’ CF LOS ANGE.ES
ALTERHATNE DISPUTE RESOLU`UON (AQR) lNFORMATlON PACKAGE
fmc 3 221 lnfwmaim abo\AAMné&v~b Disput¢ Rosoludon]
Fcc addmmsl)\m fccfccm'alion and forma wait t!\aCocuiADRweb application awwwmm(dlckonw}

Thcs plalncilsiwll sam a copy 61 w lnlocmst¥on Padcage on coach delandant `long wich lin wmplalnl (Clvll only).

dbale

. mmeliwUMRM{AORN¢mammodlodmbnalwomaropumgavaicblaforse€ti\gadlspuwmmmdto
bemisdhooucc. Ampmesma maseruiuacion anq»;halmalualiqnmmdsemenmiconlamm ammlonnal
than¢mccdpmmssMmovidaoppmmmmfmpamuwmad\msgmémmu&»gnprobvmscmmach

k

Yherearamanydllfarenlmdsofmrl Ncoficemuullzea 'necctmc* mimpactcalpomon hdeddeuwcss¢c:crhelpcwpactlesread)an
agmemen¢

Modlatkm:

lumedlallon amuualpswollcadoda“mediamfbelpsllwperliahylomamcummmedede

medlmcoesmtdecidemdisputabcnbabslheparlle.scomrwmsomeymlcywsatuamadispmadcecmelves.lhdia§onleavas

consoldlhaouwomawi!hcmpsdlos. . ~»
C:csu for Whlch radiation ky 8a Approprlm . '
Medialionmaybepom*mhdyusddmpadieshmac£spulabalmnorumfmnliyn‘cembem,mighbom,orwm
mem Mecwionlqalsoeffedwmecnaliommgdinphmamydmsth&on Anelbdivemodialorcmhearlhs '
pameaodunmhmmwmmaawmmd\dhawaneduchwohdmwuwvenm _ ‘ _ .

cam w whcr,c» mining my§§§e¢ Appmpcca'¢' . `
Medlationmaynolb&efledlyecloneolt\apadksbmmgwwop&nbgc&mmu mhalsomlym\bedhc&w '..
clomollmpa:tiezhasascgm§canladvmwgolnpowommoffm The:efor`e ?tmaynolbe¢gnoddvolcelflhepvcm
lmveahiaimyolme ar vlcll¢ic:nlion

c

Arbuntion: '
ln amico anemra!psrson called an 'm'bimla;"°h%m acgm\emand.evwencgwngachs\deandmondeddec thade
dcspuc¢mmsmvwmcchmaw and ccevvecmmommhmd. mwcsonmayuemr*bhdcng‘ar
'~‘nauxming." Sindl/cgalbc¥m&mnlmmwpodiéswvmmdgmloamalandagreelaaoceptmaamiwlcx'sdecidmasmal
"Nonba'ndingam¥lmtion means hatfhepa`xtiesnfreetorequ¢mawlllwey domaccep_ltheacbiltam‘sdaddon

cam carmen mcmann lile a}lcppc»opmm '
Nbliratlonismhrcaseswhmthepmiawantmmpemn lodecide.~meoutcomeofwdlspute foflhembutwouldllkc

lomcdthelocmscllty lime ammclh¢dfnc:ial. llmlyalsoboapprdprlalefd¢oomploxmamwlmomeparliesma
decisionmakarwho hac training orapc¢ience in th`osubhdmalrer silva dispute ,

cam cor mach mcmu<m my meanwva
cfpm;eswsntwcx;hin cnnwl'overhowmeir dlnpulq)o memo arbl!mdon puBcularly binch arbitration is unum m
binding smltradm thepartieséenemlymnolappullhqblln;lofsawafd.even'ilitisnolsupporledbylheevldenceormo
law Evenic\nonhlctllng¢rvllrallon.K;par\y,mqueslsauhlmd,dounolwcaiwtmomfavonvlscmc§zlhid|mv
intimation memnuy~l`)epenalke:. ' ‘ ,

o

rim Evaluatlon:

ln news evaluation. each party gatx a chance to present the case lo a neutral penoqcallad an “evaluator.*The evaluatme an
owdocconlhs slrenglhsandwaaknessasule|dcpactrs evldmcsandmi;unen!sandaboulhowmedhmbcwld becava Thc
evawafc)risollenanmq)anmlhesubjedmalwc$llhedlspuie A!hoc.cgh meevakxal¢r‘sopinlon llnclblcdhg, mo purdulyplcs|yusoil
as a basis for lrying lo nego$ala a reso|uicn of lhe dispute c

Cam for Whlch |bulnl Evalualiou Hly 50 Approprhto . ~
Neulral evaluationmaybe mo§tswmpnaie hazesi'c~cmld\mem amleclcnwlismm\halceq\kespedale)q)enisatomsolve

mwmlyfbnwmissueinihocaceismemowcloldzmgas.

Cases fur Wh$cn Nuutnl Evalua!ion May _g§ 80 Nlpmprlaln
Neutrul evaluation may nol beappmp¢iadwhen mmsqu£pemmalormotional meansdede

SeMmuththnncoc: `
Settlementcm\lecenoeamaybeellhermandak)ryocvolumaq lndolhlypec ufqewanemconferences,&cepudezandwdmmeys
meelwihajudgoorznegmlpemoncdled a*sedhmanloWwdswsspudbl¢ssmumntolMdlspula. The]udgaormhmmt
ofhoordoesnotmowadoddoo{ntmcaswdaulslsumpdbshwawwngmewenglhsandwedmo¢saollhaus¢andh
nego§dmawhlumnt$e…mnmmappmghvmmymemmumwénlkmwwmataqu
mcmamohmhelddncetothadzln¢cuelsselform

muscmumc ` _ v " _ `. ‘ _ ' P=¢wz
msc»gmv¢aos<)s w -- t . _

 

 

 

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 20 of 35 Page |D #:37

vono_o

.E~S~.> 3 Za amc @>o£ 05 .BE soon 25 333 wo wooa
d .EBEWB 3 SE 33 05 .3% o>opm 05 3 35 53 5a mg 353 wo woo.a .:

.~EOEE..QQD.E . S.cm®e .`.O©
m

co .w>~.< Om.w wm Eos.up :§> *mmw:=m__u vw wa:.mon ow:mo O“ .~®U.~O 54

 

. , . aBE:Z om.mo
mgm§: \._

ozE<.@m YBG 305 o.~. 533 mo mu§oz

` , . . , 33 §G§ 3333
§§ 5.§>00.33 §§ §>8§3§:
om:ont=ou wE>oU 535 §._§D §§
mo_ow:< m3 wo bEEU J~EQ:QU wo taco ._o:o@:m

 

(
.1

 

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 21 of 35 Page |D #:38

EXHIBIT “B”

KLINEDINST ?C
5 Hm'ron CENTRE Dmv€, STE. 1000

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 22 of 35 Page |D #:39

l Christopher Da llolt, Bar No. 228399
KLI'NEDINST PC

5 Hutton Centre Drive, Suite 1000
Santa Ana, California 92707

3 (714) 542-1800!FAX (714) 542-3592
eholt@klinedinstlaw.com

l'\J

 

4
Attorneys for Defendant

5 NORTHLAND GR()UP, INC,

6

7

3 SUPER[OR C()URT OF THE STATE OF CALIFORNIA

9 FOR THE C()UNTY OF LOS ANGELES
25 10
§§
§ 11 'rA\/IA LAWsoN, ease NO. 12131)3312
2
§ 12 Plaintiff, NORTHLAND GR()UP, INC.‘S ANSWER TO
2 coMPLAINT
U` 13 y.
§ nepa 002
§ 14 NORTHLAND GR()UP, INC., ludgef Mi€ha€l J- RaPha¢l
§ Complaim Filed: July 23, 2012
m 15 Defendant.

16
17 Defendant NORTHLAND GROUP, INC. (“Northland”) hereby generally and

18 specifically denies and answers Plaintit`f TAVlA LAWSON’S (“Plaintift”) unverified complaint
19 as follows:

20 GENERAL DENIAL

21 Under the provisions of Section 431.30 of the California Code of Civil Procedure,

22 Northland denies each, every and all of the allegations of Plaintist complaint, in the conjunctive
23 and disjunctive, and each cause of action therein, and the whole thereof, and further generally

24 and specifically denies that Plaintiff has sustained any loss, injury, or damage as a proximate

25 result of any act, breach, or omission on the part of Northland.

26 ///
27 ///
28 ///

-1-

 

NORTHLAND GROUP, INC.'S ANSWER TO COMPLAINT

 

 

 

KLINEo!NsT PC
5 Hur'ron CENTRE DRrvE, Sre. 1000

Case 2:12-cV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 23 of 35 Page |D #:40

 

1 AFFIRMATIVE DEFENSES
2 FIRST DEFENSE
3 As a first affirmative defense, Northland states that Plaintiff fails to state a claim against

4 Northland for which relief can be granted

5 SECOND DEFENSE

6 As a second affirmative defense, Northland states that Plaintiff’s causes of action are
7 barred as a result of Plaintiff"s failure to mitigate damages and/or injury

8 THIRD DEFENSE

9 As a third affirmative defense, Northland states that if an error occurred, it was not

10 intentional and resulted from a bona fide error notwithstanding the maintenance of procedures
ll reasonably adapted to avoid any such error.

12 FOURTH DEFENSE

13 As a fourth affirmative defense, Northland states that any alleged actions, to the extent

14 they violate California or federal law, which Northland denies, vvere not willful or knowing

SANTA ANA, CAuFoRNrA 92707

15 FIFTH DBFENSE

16 As a fifth affirmative defense, Northland states that Plaintiff suffered no damages, actual,
17 economic, general or otherwise, from the alleged violations by Northland and therefore is not

18 entitled to any award of damages, attorney’s fees or costs.

19 SIXTH DEFENSE

20 As an sixth affirmative defense, Northland states that any damage to Plaintiff, Which

21 Northland denies, is due to the acts or omissions of Plaintiff and/or third parties and Northland is
22 not liable for said acts, omissions or alleged damages

23 SEVENTH DEFENSE

24 As a seventh affirmative defense, Northland states that all of Northland’s actions have

25 been in accordance With California and federal debt collection practices and consumer credit

26 laws.
27 ///
28 ///

-2-

 

NORTHLAND GROUP, INC.’S ANSWER TO COMPLAINT

 

 

 

Case 2:12-cV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 24 of 35 Page |D #:41

Ktineoiasr PC

5 HurToN CENTRE DaivE, Ste. 1000
SANTA ANA, CAtiFoRNiA 92707

l-)

L>.}

l€lCil/lTl~l 1)131?1§1\1812
/\s a eighth affirmative defense Northland states that Plaintifl”s claims are barred by lack
of proximate cause
1\111\1”1`1~1 l`)l:il*`l:iNSl';`z
ns a ninth affirmative defenseq l\lorthland states that Plaintiff"'s claims are barred because
Plaintifl` failed to perform as agreed in breach of the contracts with underlying creditors
r1`1`%11,`\1'1`1~1 l)l;§'FlENSE
As a tenth affirmative defense, Northland states that Plaintiff may be contractually
obligated to arbitrate any di spute, claim or controversy which arises out of the transaction that is
the subject matter of the instant litigation
1'§1,11§\/`¥;`1\1'1`11 DEFENSE
As an eleventh affirmative defense, Northland states that Plaintiff’s claims are barred in
whole or in part by the statute of limitations
"l`WliliFTi~l DEFENSE
As a twelfth affirmative defense N'orthland states that Plaintiff failed to properly dispute
the debt in a timely manncr.
THIRTEENTH DEFENSE
As a thirteenth affirmative defense, Northland states that the Complaint is barred by the
equitable doctrine of unclean hands
FOURTEENTH DEFENSE
As a fourteenth affirmative defense Northland states that the Cornplaint is barred by the
equitable doctrines ofestoppel, laches, acquiescencc, waiver, in pari delicto and unjust
enrichment, based on Plaintifi"s own conduct and actions
FIFTEENTH DEFENSE
As a fifteenth affirmative dcfensc, Northland states that Plaintiff consented to and/or
invited the conduct for which lie/she seeks relief
///
///

q
-3..

 

 

 

NORTHLAND GR()UP, lNC.‘S ANSWER T() C()MPLAINT

 

Case 2:12-cV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 25 of 35 Page |D #:42

KLINEDINST PC

5 Hurtou CENTRE DRi\/E, S”nz. 1090
SANTA ANA, CAtiFosuiA 9270?

l\.}

45

\~DOC\JO\U\

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

SIXTEENTH DEFENSE
As a sixteenth affirmative defense, Northland states that it and its agents if any, acted
reasonably and in good faith at all times material herein, based on all relevant facts and
circumstances known by them at the time they so acted, Northland alleges that they acted
lawfully and within their legal rights, with a good faith belief in the exercise of those rights, and
in the furtherance of legitimate business purpose Further, Northland acted in good faith in the
honest belief that the acts, conduct and communications if any, ofNorthland were justified
under the circumstances based on information reasonably available to this answering defendant
Accordingly Plaintiff is barred from any recovery in this action.
SEVENTEENTH DEFENSE
As a seventeenth affirmative defense, Noithland states that the allegations and claims
asserted in the Complaint have always been and continue to be frivolous, groundless and without
merit as against Northland and that Plaintiff has brought this action against Northland in bad
faith. Tlierefore, the relief requested is precluded and Northland is entitled to recover its
reasonable expenses, including attorneys’ fees, incurred herein as a matter of law.
EIGHHTEENTH DEFENSE
As an eighteenth affirmative defense, Noithland states that Plaintiff`s claims are barred
by lack of standing
NINETEENTH DEFENSE
As a nineteenth affirmative defense, Northland states that Plaintifi’s claims are barred by
res judicata/collateral estoppel
TWENTIETH DEFENSE
As a twentieth affirmative defense, Northland states that Plaintift’s claims are barred
because the statements or acts attributed to Northland, if made, were privileged communication
by interested parties, without malice, to interested persons who requested the information
TWENTY-FIRST DEFENSE
As a twenty_iirst affirmative defense, Northland states that any wrongful action or

conversion, which Northland denies, was in defense of Northland’s own interests

- 4 -
NORTHLAND GROUP, lNC.'S ANSWER TO COMPLA[NT

 

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 26 of 35 Page |D #:43

KLINEDINST PC
5 Hu‘rton CENTRE [>atve, ST&. 1000
SANTA ANA, CAuFoRNtA 92707

!\)

O\DOO"-~!O‘\

11
12
13
14

16
17
18
19
20
21
22
23
24
25
26
27
28

TWENT'Y~SECOND DEFENSE

/»\s a twenty~seeond affirmative defense Northland states that it may have additional
defenses that cannot be articulated due to Piaintift”s failure to particularize her claims and doe to
Plaintif`t"s failure to provide more specific information Northland therefore reserves the right to
add additional parties, affirmative defenses, countereiaims, cross~ciaims, and/or third party
claims upon further particularization of Plaintiff’s claims, upon examination of the documents
provided, upon discovery of further information concerning the alleged damage claims and
claims for costs, and upon the development of other pertinent information

PRAYER F()R RELIEF

WHEREFORE, Northland requests relief as follows:

1. That Plaintit`t` take nothing by his/her pretended causes of action;

2. 'l`hat Northland be awarded judgment in its favor dismissing all of Plaintiff’s
claims against Northland with prejudice;

3. 'l`liat a determination be made that the Complaint was brought in bad faith;

4. "l`hat Northland be awarded its litigation costs and reasonable attorneys’ fees
incurred herein; and

5. Such further and other relief the Court may deem just, fair and equitable under the

circumstances

Respecljfully submitted,

  

KLINEDINST //

DATED: August 30, 2012 By: //

Chri ophe 2 Holt
Atto eys r efendant
NO T LAND GROUP,INC.

1584544v1

-5-

 

 

 

NORTHLAND GROUP, INC.'S ANSWER TO COMPLAINT

 

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 27 of 35 Page |D #:44

KunEothr PC
5 Hu'rron CENrRE Dtqu, SrE. 1000
SAm'A ANA, CAuFoRNtA 92707

€.¢J

'~OOQ-JO\U¥>

10
11
12
13
14
15
16
1'7
18
19
20
21
22
23
24
25
26
27
28

Christopher D, l~lolt, Bar No. 228399

KLINEDINST PC

5 Hutton Centre Drive, Suite 1000

Santa Ana, California 92707

(714) 542-1800/FAX (714) 542-3592

cholt@klinedinstlaw.com

Attorneys for Defendant
NORTHLAND GROUP, INC.

SUPERIOR COURT OF 'I`HE STATE OF CALI,FORNIA

FOR THE COUNTY OF LOS ANGELES

TAVIA LAWSON, Case No. 12B03812
Plaintiff, PROOF ()F SERVlCE
v_ Dept: 002
lodge: Michael J. Raphael
N()RTHLAND GR()UP, INC., Complaint Filed: luly 23, 2012
Trial Date: None set

Defendant.

 

1 declare that:

l am and was at the time of service of the papers herein, over the age of eighteen (1 8)
years and am not a party to the action 1 am employed in the County of Orange, and my business
address is 5 Hutton Centre Drive, Suite 1000, Santa Ana, California.

On August 31, 2012, 1 caused to be served the following documents:

NORTHLAND GROUP, INC.'S ANSWER 'l`() COMPLAINT

1:1 VIA FACSIMILE TRANSMISSION: (Code Civ. Proc. §§ 1013(e) and (f)): From fax
number (714) 542-3592 to the fax numbers listed below and/or on the attached service
list. The facsimile machine I used complied with Rule 2008 and no error was reported by

the machine

1:1 VIA ELECTRONIC FILING SERVICE: Complying with Code of Civil Procedure
section 1010.6, my electronic business address is cgagne@klinedinstlaw.com and I
caused such document(s) to be electronically served through the LexisNexis/Verilaw
system for the above-entitled case to those parties on the Service List maintained on the
LexisNexis/Verilaw’s website for this case. The file transmission was reported as
complete and a copy of the Filing/Service Receipt will be maintained with the original

document(s) in our office

-1_

 

 

 

PROOF OF SERVICE

 

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 28 of 35 Page |D #:45

Ktntsomst PC
5 HutToN CENTRE DRWE, Sris. 1000
SANTA ANA, thorost 9270?

F~.)

10
11
12
13
14

16
17
18
19
20
21
22
23
24
25
26
27
28

181 VlA MA!L: By placing a copy thereof for delivery in a separate envelope addressed to
each addressed respectively, as follows:

1311 BY FIRST-CLASS MAIL (Code of Civ. Proc. §§ 1013 and 1013(a))

1:1 BY ()VERNIGHT DEL!VERY (Code Civ. Proc. §§ 1013(¢) and (d))

l:l HY CER'I`IFIED RETURN RECEIPT MAIL (Code of Civ. Proc. §§ 1013 and

1013(a))

SEE ATTACHED SERVICE LIST

1 am readily familiar with the firm’s practice of collection and processing correspondence
for mailing. Under that practice it would be deposited with the United States Postal Service on
that same day With postage thereon fully prepaid at Santa Ana, California, in the ordinary course
of business l am aware that on motion of the party served, service is presumed invalid if postal
cancellation date or postage meter date is more than one day after the date of deposit for mailing

in affidavit

1 declare under penalty of perjury under the laws of the State of Califomia that the
foregoing is true and correct

Executed on August 31, 2012, at Santa Ana, Cali,fomia.

Carrie L. Gagne 17

_2-

 

 

 

PROOF OF SERVICE

 

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 29 of 35 Page |D #:46

Kumeomsr PC
5 Horrow CENTRE DRNE, SrE. 1000
SANrA ANA, CAL:FORN:A 92707

£"~)

10
ll
12
13
14

16
17
18
19
20
21
22

24
25
26
27
28

 

 

Service hist
Tavia Lawson v. Northland Group, lnc.
1465~5029
Todd M. Friedman, E.sq. T: (877) 206-4741
Nicholas J. Bontre.ger, Esq. F: (866) 633~0228
Suren N. Weerasuriya, Esq. Email:
LAW OFFICES OF TODD M. FRIEDMAN, tf`riedman@attomeysforeonsumers.com
P.C. nbontrager@attomeysforeonsumers.com
369 S. Doheny Dr., #415 sweerasuriya@attometsforeonsumers.com
Beverly Hills, CA 9021 l
Counsel for Plaintif`f
TAVIA LAWSON

 

 

 

 

158450'9v1

- 3 -
PROOF OF SERV[CE

 

 

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 30 of 35 Page |D #:47

KLINEDINST PC

5 HoTToN CENTRE DRi\/E, STE. 1000
SANTA ANA, CALIFORMA 92707

iv

Christopher 1). liolt, liar Noi 2283‘)‘1)
Kl,l'Nl€DiNS'l` 1’€

5 llutton Centre l)rivc, Suite 1000
Santa Ana, Cali,t`ornia 92707

(”714`) 542»1800/FAX (714`) 542-3592
cholt@l;linedinstlaw.com

Attorneys i`or Del`endant
NOR'l"l»ll_iANl,`) GR()UP., lNC.

SUPER.IOR CC)URT OF 1`1~113 STATE OF CAl_/lFGRNl/\
FOR Tl~ll:i COUNTY OF L()S ANGELES

T/-\\/IA LAWSON, Case No. 12B03812
Plaintii`,t“, PR()OF ()F SERVICE
V` Dept: 002
lodge: Michacl J. Raphael
N()R'l`l'll,iANl) GR()l.,lP, lNC., COmplai“f Fil€df lilly 23» 2913
Trial Datc: None set
Defendant.

 

1 declare that;

l am and was at the time oi` service of the papers herein, over the age of eighteen (18)
years and am not a party to the action 1 am employed in the County of Orangc, and my business
address is 5 llutton Centre Drive, Suite 1000, Santa Ana, California.

On August 31, 2012, 1 caused to be served the following documents:

DEFENDANT NORTHLAND GR()UP, INC.'S N()TICE OF REMOVAL
T() UNITED STATES I)ISTRICT COURT

l:l V'IA FACSIMILE TRANSMISSIGN: (Codc Civ. Proc. §§ 1013(6) and (f)): From tax
number (714) 542-3592 to the fax numbers listed below and/or on the attached service
list. "l`he facsimile machine 1 used complied With, Rule 2008 and no error Was reported by
the machine

l:] VIA ELECTRONIC FlLING SERVICE: Complying With Codc ofCivil Proccdurc
section 1010.6, my electronic business address is cgagnc@l<linedinstlaw.com and 1
caused such document(s) to bc electronically served through the chisNexis/Verilaw
system for the above*entitled case to those parties on the Service List maintained on the
LexisNexis/Verilaw’s website for this case 'l`h,e tile transmission Was reported as
complete and a copy of the Filing/Scrvice Reccipt will be maintained With the original

_}-

 

 

 

PR()()F ()F SERV|CE

 

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 31 of 35 Page |D #:48

Ktheoler PC

5 Hur‘roz~i Cemae Dai\/E, Sre. 1000
SANTA ANA{ CAtiFoaNtA 92?()7

i\.)

'¢J

Ui

6

document(:s) in our office

VIA MAIL: l:%y placing a copy thcrcoi` for delivery in a separate envelope addressed to
each addressee, respectively as t`ollows;

BY F'IRST»CLASS MAIL (Code of Civ. Proc. §§ 1013 and 1013(21))
l:l BY (,)VF,RNIGHT DELIVI?IRY (Code Civ. Proc. §§ 1013(<:) and (d))

tit BY CP:RT!F|E!) RETURN RECEIPT MAIL (Cmie of Civ. Pmc. §§ 1013 and
1013(3))

SEE ATTACHED SERVICE LIST

l am readily familiar With thc iirm‘s practice of collection and processing correspondence
for mailing linder that practice it Would be deposited With the United States Postal Service on
that same day With postage thereon fully prepaid at Santa Ana, California. in the ordinary course
of business l am aware that on motion oi` the party scrvcd, service is presumed invalid if postal
cancellation date or postage meter date is more than one day after the date of deposit for mailing
in affidavit

l declare under penalty oi` perjury under thc laws of the State of California that the
foregoing is true and correct

Executed on August 31, 2012. at Sa_nta Ana, California.

fe ,M

arose/vaca f , j» seem ~..;-e z
Carrie L. Gagne 515

_2_

 

 

 

PROOF ()F SERV]CE

 

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 32 of 35 Page |D #:49

Ktm§omsr PC

5 Horrori CENTRE DRt\/&, STE. 1009
SANTA ANA{ CAtrFoRNtA 92707

m

C.¢J

Ux

6

26
27

Service l,,i£t
"l`a\fia I,aw:ion v. Northland (}roupt Inc.
1465»5029

 

 

Todd l\/t. Friedman, l`§s;q. T: (877) 206~4741

Nicholas J. Bontrager, liisq. l:"`: (:866) 633~0228

Stiren N. Wecrasoriya, lisq. Email:

lpAW ()`l;`}'"l(§`l£§$ (f')l" ‘l,"(`)l`_')l) M. FRIEDMAN, tfriedman@attorneysforconsumers.com
P.C. nbontrager@attomeyst`orcon.<;umerscorn
369 S. Doheny Dr.. tlfil 5 aweerasuriya@attornetst`orconsumerscom

Be\ferly i~iills, ('IA 902\ l
Coun§;ei l`or l`*`laintil`l`
"l"AVIA l,AWS()N

 

 

 

 

1584509\¢1

_ 3 -
PROOF ()F SERVlCE

 

 

Case 2:12-CV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 33 of 35 Page |D #:50

UNITED STA'I`ES DISTRICT COURT
CENTRAL DISTR!CT OF CALIFORN]A

NOT'IC'E ()F ASSIGNMENT T() UNI,'I`EI) S'I`ATES MAGISTRA'I`E JUDGE FOR I)ISCOVERY

This case has been assigned to District lodge Philip S. Gutierrez and the assigned
discovery Magistrate lodge is John E. McDermott.

The case number on all documents filed With the Court should read as follows:

cv12- 7517 PSG (JEMx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs),

Subsequent documents must be filed at the following location:

Western Division L] Southern Division Eastem Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to tile at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOT|CE OF ASSIGNMENT TO UNlTED STATES MAG|STRATE JUDGE FOR DlSCOVERY

Case 2:12-cV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 34 of 35 Page |D #:51

 

 

l,ll\¥l”l`l:l) S'I“ATI§S l)lf$"l`Rl(,","l` (:',`(’)UR'I`., (;`ENTRA\,, l)|S'l`Rl(,"l' (’)l" (`A l,lF()RNl:\
(,`l\`lf, (`()\">F,R §§lll‘:li’l"
l (a) l’l,.U:\` ll!l*!»`.\i tt`ltcclt lio>. illyim arc representing yt)iii~,»clt`l:i`i l)l<';l; i\`ll.»\§\)l`§§
yl`f\\i'l/\ l../\ \V.‘§()N N()R"l`llliz\l\ll') (il{{/,`)lli". le."`

 

(b) Attome
j,’oiiiselt`d provide same `i
”l“odd l\/l. l"`riednian`, li
l_,A W (,')l“`l*`l(f`li$ ()li 'l`(’ll)l) M. l"Rll,§l)M/’XN. l’.(".

369 S, l')olieny l’,')r,,
llevci“ly l
'l`: (877`) 2()6~174

` (l"iim Nanii:, Adtii'r:ss mill l`i:lcphoiic Niinil)ci ll`y,mi :uc iciircsci'iting

sq.

ill§
lilis, (;`/\ ()(l:ll l
l!l*`/\X:

(St>()) (i33»(l228

 

 

:\ttofiii;ys tll` Ki\ti\\'n')
(",'liristoph<:i‘ l"). l'l<ill< l:iz;d,
Kl,,lNl'il,)ll\lS'l` l’C`
5 l'lutton (,`,eiiti'e l,')rive, Suite
fianta /\nz'i. (“,`A 927()7
'l`t (7|4`) 542~

lli()(ifl:/\.Xj (714`) 112

l()()(l

592

,,
* 23

 

ll HASIS Ul*` ,ll il£l$ll)l( "l“l(l?\’

§ii,;

3 (iiivciiimi;iit l’l;iiiitill'

i:l 2 li 3 (`i'livi:itiiiici\t l)i:l`ciiilzii'it

IV. (,lRl(§l:\é (l’lzict' am X in one

l:] l t'lri;;in:il

lirtit‘ei:ding

tl"liicc an X in one bo\ only 1

_l l"<:dcr;\l l`luc>tion tl,l,$,

llovci'ninent Not ri l’:m\

l::l ~l l)iv<;i'sity' (lntliczitc t'itt/cnsliip

ot`l’;'ii'ties in lil;m llll

box only l

;Xpiicllittc ("i)iiit

ll|.

 

lte<ipcneil

t'ili/,cii oil his .‘,~}tzttc

t'"iti;',cn ol`/\nt>lhcr little

(`l'l'l?,l#"*€$llll’ ()l" l"}{l;"é(`ll’t\l, P.»\l'l’l`ll‘l.“§ f
(l>l:,ii;e an .\1 m one ho\ ll\r pli`iiiitill

l,,.[.F

§ i

l'itizcn or thric<;t ol':i l"oi't;ijgn ('oiiiitry E j l:i 5

§§

l~‘m' l)ivcisitj\ (`ases

and one lot dcl`ciid;int,l

l )l~,`, l"

§ i

lncoipoizited or l‘iincipal lllace

(`)iily

l"l`l" ll F, lg

§§ §~i

i)l\llii$:iness in this Staic

§2

li`ici)ipt'iiati;d and

l’riiieipal Plaec :I 33 m 5

ol` Busi'ncss in An¢')thcr Statc

l"orcigri Nation

j 2 llc-moved from 3 l{cm;indcd twin [:i 4 l<ei'nstated of 5 'l'r;insl'ci‘i'i.d lmni another district ts iccil\/)_ (> Miilti'-
l ,
.\`.tiitc {`nttit l')i'stiict

litigation

l:]t'i l:i(a

ij 7 A;)pezil to l,)isi,i'ict
.liid;_;i: from
Maaisitale lucille

 

V. RF,(`)["I~;S'|`ED l;'\‘ (`();\Il’l,.\l;\"l`: .ll'R\c l)l€M/\i\'l): gi ch m No t(.'l\i:cl; 'ch' only il’».lcmaiiiled iii cumplaiiit)

t:i.,.,\ss .»xi:'i‘it)¢\‘ initio if.ix_t‘.i’, 231 § ve § N.»

l:i i\l(')Nl€`i` l)l£.\l.>?i§\l)l€l) \N (`():'\ll’l,;\|N'l`: 3 M_

 

Vl. (`.~\l‘Sl“l ()l*` .\(,"'l`l(`ll\’ ((`itc

thch

l$ U,S.C. Scc.l(i‘)l et seq

S_ ("i\ il §tzuiilc under vi liieli you arc filing and write o bi'it:l`stntcntci\t <'»l`c:mse l`)o not cite viliii'i\\dit:iionzil statutes unless diversity,)

 

\"l l. N/\/I`I’RE ()F Sl?l'l` {l’liit*t>

an .'\v iii tiiiol)orx` iiiily,}

 

 

()Tllfil{ S’l‘;it'l"tl‘l`l£$

[::l 400 Sttttc lloiippiirtiiini'nent

m 410 .i\iititmst

l:i 430 Banks and thinking

l_:] 450 t`t)iiiiiiercc,ll(,`(`
Rziicsi'eic

l:] l()ll l')ep¢)rtzition

i::i l/ll R:ickcteci influenced
and (, i)ii'upt
l)rg:)nimiiims

§ 480 (`onsumer (`redit

l:l lion millie/sai iv

[:l 810 .‘~§elcciivc Scrvicc

[:] 850 Secuiitiesi’("t>ininotlitics,/'
lis/change

m 875 t`usti,imct Cliallcnge l2
USL` 3~ll()

i:l 890 (')tl)ci Stzitt\tory v/\ctioiis

5 gill Agticulturiil Aci

l:i 892 l§conomi<; Stabili;/,alit)ii
AC!

g 393 l§nvirtmmentzi| M:iltci’$'

g 894 lincigy Alloc:itinn Act

m 895 lirecdom ol`li\l`o. Act

l:l ‘)l)tl Appeal ot`l"`ee l`letermi`»
nation linder liqual
Ai;cess to justice

[:l 950 (,`onstitutionality iit` State
Statutcs

L"ONTRACT

l:] l |l) |nsiirzuicc

l:i thl Mzirinc

§ i_ziii,iiiit~mt~i

l::l l~lll Ncgotiziblc lnsliumcnt

I:] lill Rect)vci§ of
(',lvcrpa}meiit &’
linli)iccmciit t)l`
.liidgment

l::l l5l l\/letlictirc /\ct

[:] l52 ltcci'ivciy ol` l)cl`iiiiltcd
Studciil l.o:iii {lfxcl
Vetcrzms`i

l::l l$"i Rcc<)\/eiy nl`
()vci’})ziymciit ol`
Veicrzin`s llencl`its

l:l ltill _"»'tockliolt|crs* Siiits

l:i l‘)l'l (lther Conlract

[:] 195 Ci)ntrzict l’roduct
liability

[:l 190 l:rnncliisc

REAL PRUPERTY

l:i 210 land Ct)ndemii;ilit)n

l:] 220 lioteclosuie

l_:l 230 Rem lease & l-,`jectment

[:l 240 'l`oris to land

[:l 245 'l`ort l>rodu<;t liability

§ 2<)<) Aii other item i»mpt»it\»

 

 

F()R OFI l( li I'SF ()’\l Y;

.»\ F'l`ER ("()MP| ll~l'l`l N(§ 'l`l

(`,Tase N timber

  

'l'OR'l`S
Pl§l{S()N/\L lN}UR`i’
l:i 310 i\irplaiic

[:] 3 l § '\irplane l’rodiict

l iibililv
§ i2i) \Ssmiii i mci it

Sl mdcr
§ 33<

>l"ed liiiiploycr.\:'
liability
l:] 340 Miiiinc
m 345 Mzirnic l’ioducl
liability
§ isn ~\/i<»im vehicle
l::] iii ;`\/lotoi' \." hiclc
l)rt)dtict liability
m 360 ()tlii:t l*cison;il
lnjtii}`
m 362 Pcrsi)ii:il lnj\iry»
lvlcd lvl;ilpmcticc
l:i 365 l’crson;il lnjury~
l’ioduct liability
l:l 368 Asbestos l)ctsoiial
lnjnr_v l’i'otluct
liability
lMlvll(lR.'\'I`l()N
[:l 462 Naturali'!,ation
!\pplii;tilioii
l::l 463 llabezis Corpus-

 

 

Ali<:ii l)clainec
l:] 465 {)tlicr immigration

 

'I`ORTS
l:’l§l{S()NAl,
l’R()Pl§R‘l`Y

[:l 370 lltlicr l‘“i'aud
13 _l7l 'l`iiitli in lending
i::l 3th ('lthcr l)crsoniil
l’mpcrt§‘ l);im;i"e
[:] 3§‘§5 l’i'<)perty l')zimztgi:
l’iodtict liability
llANKRl.‘P'l`(`Y
2_ /\ppcnl 28 US(
lSX
§ 423 Wiiiidi;i»\~gi 23
llS(` |57
ClVll, RlGl'lTS
§ 44i voting
g 442 l',mploymcnl
l::l 443 llousing."i\cco-
iiinioi.lzititins
§444 W¢iimc
l:] 445 /\meiic;ii\ with
l,)isabilities
l{mploynieiit
l:l 446 /\mericaii with
Disabilitics v
Otlier
§ 440 other C,mi
Riglils

 

 

PRISUNER

Pl§“l'l'l`l()NS

l '\ltiimns to \/ acute
Senteitcc llal)eas
( omits

(l (iciierzil
heath Penalt\

[:l

ij

ij

m 4ll \/'vltiiitl:iiniis'
()tlict

§ 550 t‘wii signs
m 555 l’tison L`onditioii
F(`)RFEITURF. 1
l’ENAL'I`Y
m tilll /\grit:tilttire
§ 620 other iam ct
l)rug
m 625 l)riig Related
Sci7ui'c of
Prt)perty 21 l,lSC
881
[:l 6301.iquor l.aws
§ 640 R.R.& illicit
m 550 Airline chs
m 660 ()ccupational
Sat`ety /l'lealth

§
§';
§4

§ 690 olim

 

LABGR
l::l 7|0 liair labor Siaiitlai'ds
At'l
l:i 720 l_,al'ior/lvlgmt
Rclatioiis
m 736 l..zibiir/lvlg;ii)t
chorting &
l)iScltisure ,Act
l:l 740 l{ai'lway labor »’\ct
§ 790 other i.ai>t;>r
litigation
m 7<)| l'§mpl Rcl inc
Security Act
l’R()PERTY RIGHTS
m 820 C`t)pyrights
§ ssn mem
§ 840 'i‘mtimmii<
SOClAL SECURl'l`Y
§ si iiin< isssi`i‘i
§ 862 siaci< rung i<,)za`i
§ 803 DiwCiDiww
405(§;))
§ 864 ssii) 'iitie )<vi
§ sss Rsi cios<g))
F}ZDERAL ',f'AX SUITS
§ xiii taxes iu.s i>iamiiit
or Defendant)
§ sii iits-i‘iitr<i may 2a
llSC 7609

 

 

 

 

R()Nl Sll)l: ()l l()R'\l (\-.71 ( ()MP| ETF, 'I`HE ll\'F()RM \ "HGN RI:Q[‘ ES| E D BEL()\\'

 

»"ii ios/osi

(`l\'ll. (,`()\'l€R SllFiET

 

 

American LegalNel_ inc
www FormsWolkflow eom

Page l ol` 2

 

 

w

Case 2:12-cV-O7517-PSG-.]EI\/| Document 1 Filed 08/31/12 Page 35 of 35 Page |D #:52

llNl'l`F,D S'I`Ailll?§ l)l§l'l`l{l("”l` (,’(")l,ll{'l`, (':‘FlN’l`RAL l)lS'l`RlC'l“ ()F (:`A lill"()RNlr\
(`l‘v'll1 (`()\'HR Sllfi`,li“§`

\"'lll(a). ll)lii\"l lt bill ('\.‘SI~IS: llas this action been previously filed iii this court and dismissed remanded iii clizsi:tl’»’ Nt’i l:l `t’t‘>;

ll` jic>;, list misc iiiiinlicnsi

 

Vllltli). Rl~l|,_lt'l`lil) (`.'\Sli$: lissz any cases been previously filed inthi>,. court that me related to the present c;isc'? Ni,) l:] 'i'es

lt`j,`cs, list misc iiiinilit'itsi

 

(`l\'il cases arc i,lr~ci'ned related if a previously filed case ami thc present crist*:
if(`l\cck all hi)\c.~, that ;ipplyji l:l ft /‘trisi: hunt the same tit closely related trans:tctii,ni& happenings or cvcitts; or
l:] l:l, t,‘zill lot dctci’i'niiintioii \'il“thc same iii ~;i,ilist;intitilly ii:lzited or similar questions i>l`la\s~ and lact; tit
m t,` lior other masons \vtjn,ild entail substantial duplication tit labor il'ltc;ird by different _jtitl§c‘$; or
[~j ll liivol\"c tli»: stiiiir; patent trademark iii t"iipyi'ight, and one t,il“tlic factors identified tit>rji\=c in it b or c also is present

 

 

 

l.\`. \'P§Nl ll€: t\‘v"hc'n tiiiiiplctiiig thc following inlt'ii'iiintion, usc nn additional sheet tl'ni:ct‘sstir_vi

t;i) l ist the t`iitiiit\ iii tlii» llistrict t';ilil`ornizi t`iiiiiitt outside ot`t his l)i~<trict 813|€ il'ntlitr thant iiliftiriii;i ot l owen ( iiuntrj, in which l i\( ll named plaintill tcsidi';s
l:l ( litle litit it the i?o\ciiiintnt its agencies tir ciiiplo\ecs is .i mined pl.riiitifl ll this box is checked gm to item ibi

 

 

 

( t)ttnty iii tl its 1)i stritt ‘ (,;ili liiriii;i ( oiiiitt outsith ul this llistritt ‘st;itc ii“otlicr tliiiii t ;ilili)rniti iii loreif> an ('otiiitij.

 

 

 

l,,os /\ngclcs

 

ibt list the t`iiiirit} iii this l)isiiii;iA t';ilil`ornia t.`oiiiity outside ol`this l)istri<;t; Stzitc il`other than (`;ililt)rni;i; iit l-`<')reigii C`otintry, in which I*IA(,'H named defendant resides
m (,`hi:ck here il"tlie gt>i'ci'iiiiiciit, its agencies i)r employ ccs is tt n.:in'icd defendant ll`tlii$ bn\ is checked go to item (c)_

 

   

County in this llistrict * t`;ililorni;i (.`titintv outside ot'tliis l)istrict; . itc it'other than t.`;ilit`orni;i` or lit)reign t,'ouinry

 

 

 

 

 

Minncsota

 

tel list the (t`ouritj~ iii this llistrict` (,`;ililtiiiii;i t'oiiiitv outside til'this l)istrictt Statc il`otlici than (`ztlili)riiizt` or l;iircign (`otintr}, in which }€.'\(‘,ll claim arose
i\’ote: lin laniirt>i\tleiiination t':ist‘s._itsc the location iiftlic tract of land involvctl,

 

 

\,…itttliis l)istiitt § v w y ` ` y w (,`ti\ili`)i'nia (,`iitiiity outside ul this l)istrict_ St;iteo it other than (";ilil`otni;t_ or liott‘igii (,`ut

   

 

 

 

 

 

 

 
  

x sit;i\i/\'i iii<i~‘ or itt ttiit,\iizv ton i>iz<) i>i~iizi» 1,2012

 

 

 

Ntiticc to ( ounsel l’riities: lhc t \" 71 tlS~'l'~ll ( i\il L`ovct Sliect and the information contained herein neither replace nor supplement the filing and service ol`plezidin§,s
or other papers eis requiici| b_\ lzi\i, lliis t`oriiin approved by the judicial Confc renee ot tl\c ll iiith 8ttitcs in 8cptember 1974v is required pursuant to local Rule 3 -| is not filed
but is used by the C'lerl\' nl'thc (,"outt for the purpose i)|`statistics` venue and initiating the civil docket sheet tl?oi' more detailed instructions see separate instructions sheeth

 

 

     

l<cy to Stzitisticnl codes rclzitiiigto Sticr'zil 8ci.iirity t,`;i

 

:\’nturt“ iilSuit ("otlir »\ hlirt'\’iatinii Siihstniitivt' Stutci\\t`nl ol'(,’ausc oli\t‘tit)n

861 lll,»'\ All claims t`or health insurance benefits tlvlcdicz\rc) under 'l`itlc 18` P:iri /\., ol`thc 80cinl 8i:ctirity /\ct` as amended
/\lso_ include claims by hospitals skilled nursing l`;»icilities, ctc., l`i>r certification as providers ol`si:rvices tnder thc
program {42 ll,S,C. l‘.l.`)$lil~`tb))

862 l§l, All claims lot "l§lack l.ung" benefits under 'l`itle 47 Pzirt ll ot`the liederal (.`ozil Mine llc:ilth and Siil`ety Act tit 1969
ti(l 118 C 923)

363 l)th` All claims t`iled by limited workers for disability insurance benefits under ll`itlc 2 ottlie Sriciztl 8ecurity .»'\ct` as
tiincndcd; plus all claims filed for child's insurance benefits based on disability (42 1,,l,8.(.`. 405(§))

863 I)IWW /\ll claims filed t`or widows tirwidowcrs insurance benefits based on disability under Titlc 2 ofthe Soclal Set;urity
Act, as amended (42 U.S.(.`, 4115(;))

864 881{) All claims l`i,ir supplemental security income payments based upon disability filed under 'l`itle |(iol`tlii: S<icial 8ccurity
.Act. as amended

865 1181 All claims l`or retirement told ztgcl zant survivors benefits under 'l`itlc 2 oi`the Socizi| Sccunty .»'\ct~ as amended (42
lj.S C. tgll
t.`\/~7l tl)$:'tl$) (`l\"|l. (`()\/'ER Slllili'l` llage 2 oil

Arnerii:an LegalNet, lnc
www FormsWorlri‘/ow com

 

 

 

 

 

